Case 1:22-cv-00304-RGA Document 61 Filed 03/14/23 Page 1 of 2 PageID #: 2152




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


ROBOCAST, INC.,

                               Plaintiff,
                                                                C.A. No. 1:22-cv-00304-RGA
        v.
                                                                JURY TRIAL DEMANDED
YOUTUBE, LLC AND GOOGLE, LLC,

                               Defendants.


ROBOCAST, INC.,

                               Plaintiff And
                               Counterclaim                     C.A. No. 1:22-cv-00305-RGA
                               Defendant,
                                                                JURY TRIAL DEMANDED
        v.

NETFLIX, INC.,

                               Defendant And
                               Counterclaim
                               Plaintiff.


                                      [PftaPOilµ)J ORDER

       WHEREAS, Plaintiff Robocast, Inc. ("Robocast") has advised the Court that an order is

necessary to produce a license agreement (the "Apple License") between Robocast and Apple,

Inc., (the "Apple") and the Court finding good cause therefore.

       IT IS HEREBY ORDERED, this           J!t!i;.y   of ~          , 2023, that:
                                                                         tf)flt! (1)
       1.      Robocast shall produce a copy of the Apple License within EHt:ee EJ) business da)lf;

       2-.     Roeoea:st shall p r e ~ l e the         f.Hi @ e s   and materials of any   Itobocast exper t"'"

dt,slosecl tfflaer tl.le Proteetiue Order !bat roay have acseJs to die Apple License,



                                                   1
 Case 1:22-cv-00304-RGA Document 61 Filed 03/14/23 Page 2 of 2 PageID #: 2153




                       1? abaca~t sbal) provide notice, at the time exhibit lists                                                                are first exchanged, if tae
.Aq,pk Lis©nse app@0.i?ei on R:ubocast' s exhibit list H3: this r:rnrttett;-

        ~ - _JDleeJ£t:ee~cddaiauc.1t~(s~)~,-HH3:½'-eiea.1tte~hnc:::arns~e0,ss1hr.:arttlt7prrirrcorvv't1id:hc~t:lil:€e~B*a~H3:fl:ie~sHtfflffltd~Hff:il:f!ttttlte=rrT:iarll~~-fifeBlF~DQ&@f;~s~a~a~annt(:~~s)~
                                                                                                                                                                                                          '

~srt(s) diselosed ttndsr the Protective Order tn the Mattctei v1ho H3:8.j' e:ave ascess tot.be Aewle.

~d

         5-:--... Uef@a00.B1:(s), in each ease, shttH pro .·icle i,:otis@, at the rime exhibit lists                                                                                      ~


ej!ICbaagea, if the 1 pple Lieei,:se appears on sttch Defeed9.fl:t(s) ' exhibit lise.




                                                                                                         The Honorable chard G. Andr~w~
                                                                                                         United States District Judge ~{ f ff                                               l,")




                                                                                                2
